Case 3:17-cv-00243-X-BT   Document 42   Filed 08/18/17     Page 1 of 23   PageID 463




                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION


 UNITEDHEALTHCARE SERVICES,
 INC., UNITEDHEALTHCARE
 INSURANCE COMPANY,

 Plaintiffs,                            Civil No.: 3:17-CV-0243-M

 vs.


 NEXTHEALTH LLC, et al.

 Defendants.
 ________________________________/
 UNITEDHEALTHCARE SERVICES, INC. AND UNITED HEALTHCARE INSURANCE
  COMPANY’S RESPONSE TO EMERGENCY MOTION FOR PROTECTIVE ORDER




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Case 3:17-cv-00243-X-BT                 Document 42                Filed 08/18/17               Page 2 of 23             PageID 464



                                               TABLE OF CONTENTS



 I.     INTRODUCTION............................................................................................................. 1
 II.    FACTS OMITTED BY NEXT HEALTH ...................................................................... 4
 III.   ARGUMENT ..................................................................................................................... 8
        A.        The Court should not enter a Rule 26 protective order as UHC has pre-
                  existing contractual rights with which Next Health cannot interfere simply
                  because litigation is also pending. ........................................................................ 9
        B.        The Court should not enter a Rule 26 protective order as Next Health’s
                  assertion of irreparable future business harm, upon information and belief,
                  amounts to a fraud on the Court. ...................................................................... 13
        C.         The Court should not enter a Rule 26 protective order as Next Health cannot
                  demonstrate any tangible business harm that UHC’s exercise of contractual
                  rights will cause. .................................................................................................. 14
        D.        The Court should not enter a Rule 26 protective order as UHC’s letters do
                  not request protected health information, and even to the extent they did,
                  UHC is a Covered Entity that is authorized to receive PHI from another
                  Covered Entity pursuant to HIPAA. ................................................................. 16
 IV.    CONCLUSION ............................................................................................................... 18




                                                                  i
Case 3:17-cv-00243-X-BT                        Document 42                 Filed 08/18/17                 Page 3 of 23               PageID 465



                                                    TABLE OF AUTHORITIES

 Cases

 Aktienge-Sellschaft v. Westburg, 260 F. Supp. 636 (E.D. Pa. 1966) ............................................ 10

 Azim v. Tortoise Capital Advisors, 2015 U.S. Dist LEXIS 16402 (D. Kan. Jan. 14, 2015) ......... 10

 Cazorla v. Koch Foods of Miss., L.L.C., 838 F. 3d 540 (5th Cir. 2016).......................................... 9

 Commodity Futures Trading Com. V. Rosenthal & Co., 74 F.R.D. 454 (N.D. Ill. 1977) ............ 10

 Crosswhite v. Lexington Ins. Co., 321 Fed. Appx. 365 (5th Cir. Tex. Apr. 1, 2009) ...................... 9

 Gottstein v. National Ass’n for the Self Employed, 186 F.R.D. 654 (D. Kan. 1999) ................ 8, 16

 Jeld-Wen, Inc. v. Nebula Glass Int’l, Inc., 2006 U.S. Dist. LEXIS 97573 (S.D. Fla. July 11,
 2006) ............................................................................................................................................. 10

 May Coating Techs., Inc. v. Ill. Tool Works, 157 F.R.D. 55 (D. Minn. 1994) ............................. 11

 Nemir v. Mitsubishi Motors Corp., 381 F.3d 540, 550-51 (6th Cir. 2004).................................... 14

 Rules

 45 CFR 160.103 ........................................................................................................................ 7, 16

 45 CFR 164.506(c).................................................................................................................... 7, 17

 45 CFR Part 493 et seq. ............................................................................................................ 7, 14

 Federal Rule of Civil Procedure 26(c) .................................................................................. 8, 9, 13

 Federal Rule of Civil Procedure 37(a)(5) ................................................................................. 2, 18




                                                                          ii
Case 3:17-cv-00243-X-BT        Document 42       Filed 08/18/17      Page 4 of 23     PageID 466




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 UNITEDHEALTHCARE SERVICES, INC. AND UNITED HEALTHCARE INSURANCE
  COMPANY’S RESPONSE TO EMERGENCY MOTION FOR PROTECTIVE ORDER

        UnitedHealthcare Services, Inc. and United Healthcare Insurance Company (hereinafter

 “UHC”) file this Response to the Next Health Defendants’ (hereinafter “Next Health”)

 Emergency Motion for Protective Order, stating as follows:

                                   I.      INTRODUCTION

        Next Health’s Emergency Motion for Protective Order intentionally withholds key, and

 in this instance dispositive, information from the Court and is unwarranted by clear, undisputed

 facts. As set forth below, the Emergency Motion should be denied, and the Court should order

 Next Health and/or its attorneys to pay UHC its reasonable attorney’s fees in opposing this

 Motion.

        UHC’s letters to physicians were not sent under the guise of this litigation’s discovery

 process, formal or informal. Rather, pursuant to UHC’s Network Physician Contracts with each

 physician, UHC exercised its contractual right to audit certain claims and administrative issues.

                                                1
Case 3:17-cv-00243-X-BT         Document 42        Filed 08/18/17      Page 5 of 23      PageID 467



 UHC’s business relationships with these physicians all pre-exist this lawsuit and each

 contemplate a sharing of information between the parties that does not require issuance of any

 litigation-related subpoenas. UHC specifically informed Next Health of this contractual right

 and justification prior to the meet and confer on this issue, during the meet and confer, and again

 after the meet and confer. Yet Next Health’s attorneys ignored their duty of candor to this Court

 and intentionally omitted this key fact from the emergency motion they filed late last week –

 presumably because the fact that UHC requested information from physicians pursuant to

 independent contractual rights renders all of the authority cited by Next Health inapposite,

 thereby making Next Health’s entire pleading frivolous, and subject to Rule 37(a)(5) sanctions.

         Pursuant to rights set forth under each provider’s Network Physician Contract, UHC can

 request information necessary to conduct a reasonable audit of the provider’s compliance with

 the Network Physician Contract. These contractual rights exist in the absence of litigation, and,

 conversely, are not restricted because of the presence of litigation. Stated another way, UHC has

 contractual rights to access the requested documents even in the complete absence of a lawsuit.

 Next Health provides no authority where a Court has limited a party’s ability to communicate

 with its own contractual partners under rights that exist completely independent of litigation.

        Moreover, the hypocrisy of Next Health’s requested relief must not be lost. Next Health

 cries that UHC is interfering with Next Health’s business relationships. However, Next Health’s

 very own implication of these network physicians as potential sources of billing impropriety in

 publicly filed motions and discovery is what prompted UHC’s internal audit. Now, having

 prompted this audit with its own accusations, it is in fact Next Health that is seeking to interfere

 with UHC’s contractual audit rights.




                                                  2
Case 3:17-cv-00243-X-BT          Document 42     Filed 08/18/17      Page 6 of 23     PageID 468



        Next Health speculates that UHC’s contractual audit request will “destroy Entity

 Defendant’s Business Relationships with their Physician Clients,” thus causing irreparable harm

 to Next Health. Again, Next Health misleads the Court by omitting key facts. UHC has learned

 from the Centers for Medicare and Medicaid Services (CMS) that all four of Next Health’s

 licensed laboratories are either not operating, or are in the process of having their CLIA

 certifications suspended or revoked for failing basic proficiency tests. Laboratories must have a

 valid CLIA number from CMS in order to operate. Once CMS finalizes its suspensions, each of

 Next Health’s laboratories must reject any laboratory testing requests from physicians because

 CMS has determined that they are no longer allowed to perform such work. Failing to adhere to

 minimum standards enforced by the regulatory body that controls clinical laboratories is what

 has “destroyed” Next Health’s business relationships with its physician clients. Not the UHC

 contractual audit letter that followed.

        Next Health also takes the disingenuous position that UHC’s contractual audit letter is

 requesting protected health information and information protected by the physician-patient

 privilege. A simple reading of the requests shows that Next Health’s arguments defy logic.

 More importantly, however, Next Health fails to inform the Court – or fails to understand – that

 UHC, like any health care plan, is itself a Covered Entity under HIPAA. It is not a violation of

 either HIPAA or any physician-patient privilege for a network provider to provide an insurer

 with information about the insurer’s members. Providers routinely submit patient identities and

 medical information to insurers as part of the insurance claim process. While disclosure of such

 information would be a violation of HIPAA and privilege protections if it were made to a

 random stranger on the street, it is a necessary, and universally contemplated, part of our

 healthcare system. In fact Next Health itself, in bilking UHC out of hundreds of millions of



                                                3
Case 3:17-cv-00243-X-BT        Document 42        Filed 08/18/17      Page 7 of 23      PageID 469



 dollars, had to routinely submit this very type of information to UHC in order to secure

 payments. It rings hollow that Next Health now claims that it is trying to valiantly protect

 patients when it consistently used patient information to defraud UHC for years. Indeed, patients

 are not opposed to UHC’s efforts to investigate the scope and extent of Next Health’s fraud.

 Rather, they have applauded UHC’s efforts to stop Next Health from using them as pawns in a

 corrupt scheme. As one patient stated, “[t]hey have made my life miserable … I am so happy

 you are suing these corrupt men!!! Good luck and I will be praying that you win the lawsuit!!!!

 I am so happy that they have finally been exposed.” See Email from Patient (Redacted) to

 Mooney, attached hereto as Exhibit 1.

                       II.     FACTS OMITTED BY NEXT HEALTH

 1.     UHC has pre-existing contractual relationships with the providers to whom it has sent

 contractual audit letters. See e.g. Network Physician Contract of Cannella effective July 2006,

 (rate information on pages 11 and 12 removed), attached hereto as Exhibit 2.

 2.     UHC did not learn the identities of these providers through this litigation and did not seek

 or receive these identities under the guise of the discovery process. The identities of these

 providers were known to UHC in the absence of litigation. Id.

 3.     In order to protect its members from outrageous out-of-network charges for

 commoditized services like routine laboratory tests, UHC’s Network Physician Contracts

 obligate providers to “refer customers only to other network physicians and providers” except as

 otherwise provided. Id. at p. 3. Next Health’s labs are out-of-network providers to which

 UHC’s in-network physicians, including but not limited to Dr. Cannella, referred UHC’s

 members. These referrals potentially violate the terms of UHC’s Physician Network Contracts.

 Id. Indeed, UHC’s Administrative Guide, expressly incorporated into the Physician Network



                                                 4
Case 3:17-cv-00243-X-BT        Document 42        Filed 08/18/17      Page 8 of 23    PageID 470



 Contract, see id. at p. 8, sets forth a non-participating provider consent form protocol for

 specimens sent to out-of-network laboratories for testing, which includes rules for notifying

 members of potential higher out-of-pocket costs and requires physicians, like Dr. Cannella, to

 obtain a Member Advance Notice Form evidencing the member’s consent to using out-of-

 network providers like the Next Health labs. See Administrative Guide at pp. 41-42 attached

 hereto as Exhibit 3, and the full voluminous document available under “Tools & Resources” at

 www.unitedhealthcareonline.com.

 4.     UHC is entitled to audit its in-network providers’ compliance with the aforementioned

 contractual obligations. Indeed, under its Network Physician Contracts, UHC has contractual

 rights to request information necessary to conduct a reasonable audit of the provider’s

 compliance with the Network Physician Contract, including the aforementioned provisions:

              Providers are contractually obligated to “cooperate with our reasonable requests

               to provide information that we need.” See, e.g., Exhibit 2 at p. 3;

              UHC “may request copies of medical records from you in connection with …

               reviewing your compliance with the terms and provisions of your agreement with

               us, and with any appropriate billing practice. If we request medical records, you

               will provide copies of those records free of charge unless your participation

               agreement provides otherwise. In addition, you must provide access to any

               medical, financial or administrative records related to the services you provide to

               our customers within 14 days of our request or sooner for cases involving alleged

               fraud and abuse… . These records must be maintained and protected for

               confidentiality for 6 years… .” Administrative Guide at p. 61 attached hereto as

               Exhibit 4, and the full voluminous document available under “Tools & Resources


                                                 5
Case 3:17-cv-00243-X-BT         Document 42        Filed 08/18/17      Page 9 of 23      PageID 471



                at www.unitedhealthcareonline.com);

 5.     Next Health itself has suggested that to the extent the medical necessity of the laboratory

 testing giving rise to the Complaint is under attack, such medical necessity is an issue that should

 be addressed to ordering physicians, like Dr. Cannella, not Next Health. See Next Health’s

 Motion to Dismiss (Doc. 18) at pp. 2-3 (“UHC’s Benefit Claims rely to a large extent on alleged

 misrepresentations regarding the medical necessity of the laboratory testing services provided by

 the Next Health Labs. Yet, Entity Defendants do not make representations to UHC regarding

 ‘medical necessity.’ The physicians referring patient specimens for testing to the Next Health

 Labs exercise independent professional judgment in determining what testing services are

 appropriate and necessary.”) (emphasis added); see also Next Health Interrogatory No. 14 to

 Plaintiffs, attached hereto as Exhibit 5 (“Identify any and all allegations or claims for liability,

 whether for misrepresentation, fraud or other causes of action or theories of liability, made by

 UHC against any physician or other provider making referrals to one or more of Entity

 Defendants for the claims for laboratory testing services made the subject of UHC’s Complaint

 relating to the medical necessity of the laboratory testing services at issue.”) (emphasis added).

 The clear implication of these statements by Next Health is that the network physicians, and not

 Next Health, are the potential sources of billing impropriety.

 6.     Given that the network physicians that received the contractual audit letters appear to

 have violated their contractual obligations (set forth in paragraphs 3, supra), UHC is well within

 its contractual rights to conduct an audit as to reasons behind such violations. Given Next

 Health’s suggestions of potential impropriety by these physicians and Next Health’s request for

 any information related to such (set forth in paragraph 5, supra), UHC’s audit is even more

 warranted.



                                                  6
Case 3:17-cv-00243-X-BT         Document 42       Filed 08/18/17       Page 10 of 23      PageID 472



  7.     Before, during, and after the meet and confer session regarding this dispute, UHC

  informed Next Health that the basis of its ability to request documents via the letters in question

  was pursuant to the Network Physician Contracts. See Emails from Sinton to Rogers, attached

  hereto as Exhibit 6. Nevertheless, Next Health intentionally omitted this critical fact from its

  Motion.

  8.     UHC has been told by CMS that all four of Next Health’s licensed laboratories are or will

  soon be prohibited from conducting any laboratory testing. See Email from Pearson to Tobin,

  attached hereto as Exhibit 7. Specifically, CMS officials told UHC that “United Tox and

  American Lab Group are being revoked due to proficiency testing referral. US Tox is closed. …

  Medicus is still testing; did not voluntarily cease patient testing; we are working on suspending

  the lab.” Id. Laboratories must have a valid CLIA number from CMS in order to operate. 45

  CFR Part 493 et seq.

  9.     UHC is a covered entity under HIPAA. 45 CFR 160.103. It is not a violation of either

  HIPAA or any physician-patient privilege for a Covered Entity network provider to provide a

  Covered Entity health plan with information about the health plan’s members pursuant to a

  health care fraud and abuse detection or compliance. 45 CFR 164.506(c)

  10.    Next Health has not presented any valid assignment that can be construed as giving Next

  Health any authority to act as a representative of UHC’s in-network providers whom Next Health

  seeks to shield from compliance with their contractual obligations to respond to UHC’s audit.

  11.    Next Health has not presented any valid assignment that can be construed as giving Next

  Health any authority to act as “a representative of the patient entitled to assert the physician-

  patient privilege in this proceeding.” The cited portions of the form assignment attached by Next

  Health to its Motion, to the extent it even exists in signed version with regard to UHC Members,



                                                  7
Case 3:17-cv-00243-X-BT         Document 42       Filed 08/18/17     Page 11 of 23      PageID 473



  merely confers on Next Health the right to request and obtain documents. (Doc. 37 at p. 14 of

  20).

  12.    While Next Health makes unsupported assertions of its right to assert privilege on behalf

  of patients, UHC provides evidence that at least some patients oppose Next Health acting on

  their behalf, and in fact view themselves as additional victims of Next Health’s fraudulent

  scheme. In fact, one woman, in describing Next Health as “corrupt,” applauded UHC’s lawsuit

  against Defendants, stating “[t]hey have made my life miserable … I am so happy you are suing

  these corrupt men!!! Good luck and I will be praying that you win the lawsuit!!!! I am so happy

  that they have finally been exposed.” Ex. 1.

                                       III.      ARGUMENT

         UHC does not dispute the Court’s general and inherent authority to control discovery

  under Federal Rule of Civil Procedure 26(c). As a preliminary matter, however, it is far from

  settled that the Rule 26(c) protective order requested by Next Health is even a valid procedural

  mechanism to attempt to restrict a party’s non-litigation based communications pursuant to

  contracts that preexisted and are independent from the litigation. See e.g. Gottstein v. National

  Ass’n for the Self Employed, 186 F.R.D. 654 (D. Kan. 1999) (“Defendants refer to Fed.R.Civ.P.

  26(c) for their requested protective order. That rule, however, applies only to discovery. As the

  reply brief of defendants clearly indicates, plaintiffs had served no formal discovery to

  precipitate the motion. No one suggests, furthermore, that the disclosure requirements of

  Fed.R.Civ.P. 26(a)(1) prompted it. It thus appears that Rule 26(c) has no applicability to the

  motion as initially submitted.”).




                                                  8
Case 3:17-cv-00243-X-BT          Document 42        Filed 08/18/17       Page 12 of 23       PageID 474



         Assuming that Rule 26(c) does provide a proper procedural mechanism to Next Health,

  however, it still affords no relief here as no court has ever utilized it to restrict a party’s

  contractual rights pertaining to business associates that pre-exist the advent of litigation.

  A.     The Court should not enter a Rule 26 protective order as UHC has pre-existing
         contractual rights with which Next Health cannot interfere simply because litigation
         is also pending.

         Next Health has not cited a single case in its Motion that is remotely related to the facts at

  hand. As set forth below, Next Health effectively seeks to use Rule 26 to limit the ability of a

  party to interact with its own pre-existing business contacts and contractual partners, and to limit

  a party’s ability to exercise contractual rights that exist completely independent of the litigation,

  simply because litigation happens to be pending. Next Health, of course, has not framed its

  argument in this way. In fact, Next Health completely failed to meet its duty of candor to this

  Court when it omitted the existence of UHC’s Network Physician Contracts with the letter

  recipients from its moving papers – this despite the fact that UHC repeatedly informed Next

  Health of its position that its pre-existing business relationship and contracts with these providers

  made these communications appropriate outside of discovery. See Ex. 5.

         Next Health’s Motion is completely devoid of any analysis of the cases it cites as

  authority for the entry of a protective order. Instead, Next Health relies on misleading or out-of-

  context parentheticals. This is not surprising because none of the cited cases suggest that the

  requested relief is appropriate under the instant facts. Given Next Health’s lack of analysis of its

  own cited cases, a very brief discussion is necessary now so that UHC may illustrate the

  complete lack of applicability to the facts at hand.

         Next Health first cites two Fifth Circuit cases, Cazorla v. Koch Foods of Miss., L.L.C.,

  838 F. 3d 540 (5th Cir. 2016), and Crosswhite v. Lexington Ins. Co., 321 Fed. Appx. 365 (5th Cir.



                                                    9
Case 3:17-cv-00243-X-BT             Document 42           Filed 08/18/17         Page 13 of 23         PageID 475



  Tex. Apr. 1, 2009). The Cazorla case involved discovery propounded by one party litigant upon

  another. It is an unremarkable proposition that that a court can control discovery as propounded

  between the litigants to a proceeding. The Crosswhite case similarly involved a discovery

  dispute regarding discovery propounded between parties to the case.                         That is, plaintiff

  Crosswhite sought to compel defendant Lexington to produce its allegedly work product

  protected claims files.       The granting of a protective order under such facts is once again

  unremarkable.

          Having completely failed to locate any Fifth Circuit case law that resembles the facts at

  hand, Next Health scoured the country and found five district court cases that (at least) involve

  requests made by a litigant to a non-litigant third party. None of these cases, however, address

  the key fact at hand – that is, communications between a litigant and its contractual business

  partners. Accordingly, each of the cases is clearly factually distinguishable.

          The Azim case involved use of the court’s discovery process via subpoena on a third party

  with whom it had no prior relationship. Azim v. Tortoise Capital Advisors, 2015 U.S. Dist

  LEXIS 16402 (D. Kan. Jan. 14, 2015). In both Westburg and Commodity, the plaintiffs gained

  access to customer lists via the court’s discovery process and then attempted to abuse the

  information gained in discovery by harassing the other parties’ customers. The plaintiffs had no

  prior relationship with the third parties in either matter.1 Aktienge-Sellschaft v. Westburg, 260 F.

  Supp. 636 (E.D. Pa. 1966); Commodity Futures Trading Com. V. Rosenthal & Co., 74 F.R.D.

  454 (N.D. Ill. 1977). Likewise, Jeld- Wen involved attempted communications with defendant’s

  customers that plaintiff had no prior knowledge of, or relationship with, outside the discovery

  process. Jeld-Wen, Inc. v. Nebula Glass Int’l, Inc., 2006 U.S. Dist. LEXIS 97573 (S.D. Fla. July


  1
            This, of course, is different from the present action before this Court, where UHC has sought to conduct
  audits of its own contractual partners.

                                                         10
Case 3:17-cv-00243-X-BT          Document 42        Filed 08/18/17        Page 14 of 23   PageID 476



  11, 2006).    The final case cited by Next Health, May Coating, also involves an attempt by

  plaintiffs to communicate with customers of the defendant with whom the plaintiff had no pre-

  existing relationship. May Coating Techs., Inc. v. Ill. Tool Works, 157 F.R.D. 55 (D. Minn.

  1994). The May Coating case has the additional distinguishing feature in that the plaintiff’s

  communications to these third parties specifically attempted to manipulate their testimony by

  offering full releases in exchange for cooperation in the litigation.

         None of these cases resembles the facts at hand. UHC has sought to audit its own

  contractual partners. Next Health has presented no case showing that any federal court has ever

  limited a party’s exercise of contractual rights with its own contractual partners. And UHC was

  unable to find any such case. And for good reason, as it would make the Court a pawn in an

  overt attempt to tortiously interfere with a litigant’s independent contractual rights. Simply put,

  Next Health’s Emergency Motion is completely and utterly frivolous.

         As set forth above, UHC’s Network Physician Contracts provide it with contractual rights

  to audit certain claims and administrative issues regarding its own in network physicians. These

  rights are necessary and integral to not only protect UHC against potential impropriety, but also

  to protect UHC’s vulnerable members. For example, network providers, such as letter recipient

  Dr. Cannella, are supposed to “refer customers only to other network physicians and providers”

  except as otherwise provided. Ex. 2 at 3. To the extent that Dr. Cannella was using a non-

  network laboratory, he was to do so in accordance with the non-participating provider consent

  form protocol. Ex. 3 at pp. 41-42. He was required to follow certain rules on notifying members

  of potential higher out-of-pocket costs. Id.      He was required to obtain a Member Advance

  Notice Form after a member had consented to higher out-of-pocket costs by associated with Next




                                                   11
Case 3:17-cv-00243-X-BT          Document 42        Filed 08/18/17       Page 15 of 23       PageID 477



  Health’s tests so that UHC could have assurances that its members made informed choices and

  were not being taken advantage of by Next Health’s kickback-driven profiteering. Id.

         In assuring good care for its members, UHC clearly has sufficient reasons under its

  contract to conduct the audit set forth in its letters. Despite general contractual instructions

  otherwise, Dr. Cannella referred numerous UHC Members to out-of-network Next Health labs.

  According to Next Health, Dr. Cannella did this with no coercion on Next Health’s

  part. According to Next Health, these referrals were completely based on Dr. Cannella’s medical

  judgment that this testing was necessary. See Next Health’s Motion to Dismiss (Doc. 18) at pp.

  2-3 (“UHC’s Benefit Claims rely to a large extent on alleged misrepresentations regarding the

  medical necessity of the laboratory testing services provided by the Next Health Labs. Yet,

  Entity Defendants do not make representations to UHC regarding ‘medical necessity.’ The

  physicians referring patient specimens for testing to the Next Health Labs exercise

  independent professional judgment in determining what testing services are appropriate and

  necessary.”) (emphasis added).

         Next Health is speaking out of both sides of its mouth. On one side it says that it has

  nothing to do with influencing any physician in his determination that a referral was appropriate

  and necessary. In other words, the “it was them, not us” defense. On the other side Next Health

  states that UHC cannot independently investigate the physicians that Next Health has implicated

  except in the context of the very litigation that Next Health is trying to dismiss as frivolous.

         The simple fact is that the referrals in question exposed vulnerable Texas patients to

  increased coinsurance obligations and out-of-pocket costs associated with the out-of-network

  claims. Next Health has insinuated that UHC’s pre-existing contractual partners were the real

  parties behind the fraud. Is UHC simply to keep doing business with these doctors with no



                                                   12
Case 3:17-cv-00243-X-BT         Document 42        Filed 08/18/17       Page 16 of 23       PageID 478



  opportunity to conduct an audit, thereby continuing to put its members in harm’s way? It bears

  repeating, members that were victimized by Next Health’s scheme hope that UHC prevails in its

  efforts to stop Next Health’s unlawful conduct. See Ex. 1 (“[t]hey have made my life miserable

  … I am so happy you are suing these corrupt men!!! Good luck and I will be praying that you

  win the lawsuit!!!! I am so happy that they have finally been exposed.”). Furthermore, the

  Federal Government has independently concluded that Next Health is unfit to conduct laboratory

  testing. See Ex. 7. Yet, Next Health seeks to prevent UHC from conducting any investigation

  into the improper test orders of the very physicians that Next Health points to as the true root of

  the problem, claiming that UHC’s audit letters will cause irreparable harm.

         Since Next Health asserts that simple awareness of the lawsuit causes it irreparable harm,

  should UHC be prevented from deposing these doctors since that would make them “aware” of

  the allegations of the lawsuit?    Or calling them as trial witnesses?        The examples, while

  outwardly preposterous, are logical extensions of the very remedy that Next Health seeks. The

  Motion must be denied.

  B.     The Court should not enter a Rule 26 protective order as Next Health’s assertion of
         irreparable future business harm, upon information and belief, amounts to a fraud
         on the Court.

         To the extent that a court uses Rule 26(c) to limit non-litigation contact with third parties,

  the complaining party must demonstrate tangible business harm. Next Health speciously asserts

  such business harm, as discussed below. It has come to UHC’s attention that Next Health’s

  claim of potential business harm is not just specious. It is a flat out fabrication. Next Health

  cannot suffer the prospective business harm it alleges because it, essentially, has been banned

  from performing tests by applicable regulatory bodies. Ex. 7.

         Laboratories must have a valid CLIA number from the Centers for Medicare and



                                                  13
Case 3:17-cv-00243-X-BT         Document 42        Filed 08/18/17      Page 17 of 23       PageID 479



  Medicaid Services (CMS) in order to perform non-waived laboratory testing on human

  specimens. 45 CFR Part 493 et seq. CMS has informed UHC that one of Next Health’s labs has

  closed, and the other three are in the process of having their CLIA certifications suspended or

  revoked. See Ex. 7. Specifically, the CLIA certifications for American Laboratories Group and

  United Toxicology are being revoked. U.S. Toxicology is closed and not operating. CMS asked

  Medicus to voluntarily stop testing. Medicus did not comply with this request and CMS is now

  in the process of suspending its CLIA certification.

         Given these events, the filing of Next Health’s Motion and Affidavit swearing that

  contractual audit letters will cause it irreparable business harm is incredulous and merits an

  award of attorney’s fees in favor of UHC.

  C.     The Court should not enter a Rule 26 protective order as Next Health cannot
         demonstrate any tangible business harm that UHC’s exercise of contractual rights
         will cause.

         Even ignoring Next Health’s struggles to maintain CLIA certifications, the Court should

  still deny Next Health’s motion. Where a court is asked to use Rule 26(c) to limit non-litigation

  contact with third parties, the complaining party must demonstrate tangible business harm.

  Nemir v. Mitsubishi Motors Corp., 381 F.3d 540, 550-51 (6th Cir. 2004). Mere speculative

  claims of burden, prejudice, or damaging innuendo to business interests are insufficient. Id.

         While a party may have a legitimate interest in preventing fishing expeditions to taint

  unrelated parties, a party has no ability to restrict access to contractual partners whose relevance

  was already clear. Nemir, 381 F.3d at 550-51. Moreover, simply reminding a third party of

  allegations of which it is likely already aware is not a basis for restricting access.           Id.

  (specifically distinguishing the Commodity and Westburg cases cited by Next Health, and stating,

  “Conversely, the customers that Nemir sought to contact had already complained to Mitsubishi



                                                  14
Case 3:17-cv-00243-X-BT         Document 42       Filed 08/18/17       Page 18 of 23      PageID 480



  of seatbelt malfunctions. The relevance of these customers was already clear, and interviews by

  plaintiff’s counsel would likely have served as little more than a reminder of the seatbelt

  problems that the consumers themselves had perceived and articulated. Mitsubishi’s concerns,

  then, are speculative, and mere speculation is insufficient to warrant such stringent limits on

  pretrial investigation.”).

          Next Health’s attempt to restrict UHC’s access here is even more flawed than

  Mitsubishi’s attempt in Nemir. These are not fishing expeditions made on customers only

  previously known to Next Health. Indeed, UHC’s relationship with the physicians at issue

  preceded Next Health’s relationship with the physicians – after all, it was the physician’s

  relationship with UHC (i.e., their in-network status) that made them appealing clients to Next

  Health’s kickback-driven business model that depended on identifying commercially insured

  patients. Moreover, Next Health itself has essentially made admissions in judicio via publicly

  filed documents that the very physicians that received these letters are “relevant.” See Next

  Health’s Motion to Dismiss (Doc. 18) at pp. 2-3 The physicians that UHC has contacted via

  these contractual audit letters are the very physicians that Next Health has insisted that UHC

  look to as culprits.

          Next Health has failed to demonstrate any non-speculative prospective harm that will

  occur because of UHC’s audit letters. It has only identified retrospective harm that it alleges has

  already occurred. Next Health indicated to the Court that the publicity surrounding the instant

  lawsuit is essentially putting them out of business and has already caused dramatic business

  harm. See Next Health Emergency MPO at p. 7 of 20. Next Health itself states that its CEO and

  CFO have already resigned their positions because of the allegations in the lawsuit. Next

  Health’s affiant may or may not have considered that perhaps the CEO and CFO resigned



                                                  15
Case 3:17-cv-00243-X-BT        Document 42       Filed 08/18/17      Page 19 of 23      PageID 481



  because CMS stripped the labs of their licenses, See Ex. 7, or because patients are revolting

  against Next Health’s fraudulent scheme, See Exhibit 1. This is unclear. What is clear, however,

  is that Next Health admits that the significant business harm that Next Health seeks to protect

  against has already occurred – long before UHC started its contractual audits of its in-network

  physicians. In fact, Next Health fails to submit any proof to the Court that Dr. Cannella or any

  other physician is currently ordering tests from Next Health that will stop if UHC continues its

  audit. Next Health simply presents the Court with conclusory and disingenuous speculation that

  simply mentioning the publicly available allegations of the lawsuit to UHC’s own business

  partners is going to cause Next Health irreparable business damage going forward.

         Such speculation is meaningless in the context of Rule 26 relief. See Gottstein, 186

  F.R.D. at 659 (“Defendants also suggest that they have a legitimate business interest in

  preventing unrestricted contact with their customers.... They present nothing but supposition and

  conjecture, however, to support finding future communications of counsel for plaintiffs will

  harm their reputation or profits.”). The Motion must be denied.

  D.     The Court should not enter a Rule 26 protective order as UHC’s letters do not
         request Protected Health Information, and even to the extent they do, UHC is a
         Covered Entity that is authorized to receive PHI from another Covered Entity
         pursuant to HIPAA.

         UHC is a Covered Entity as defined by HIPAA. 45 CFR 160.103 (“Covered Entity

  Means: 1) A health plan.”). UHC’s network physicians are Covered Entities as defined by

  HIPAA. Id. (“Covered Entity Means: 3) A health care provider who transmits any health

  information in electronic form in connection with a transaction covered by this subchapter.”). A

  health care provider can disclose protected health information of a health plan’s members to the

  health plan as part of any health care fraud and abuse detection or compliance. 45 CFR

  164.506(c)(4):

                                                 16
Case 3:17-cv-00243-X-BT        Document 42        Filed 08/18/17      Page 20 of 23       PageID 482



         (c)(4) A covered entity may disclose protected health information to another covered
         entity for health care operations activities of the entity that receives the information, if
         each entity either has or had a relationship with the individual who is the subject of the
         protected health information being requested, the protected health information pertains to
         such relationship, and the disclosure is:
         (ii) For the purpose of health care fraud and abuse detection or compliance.

         This is a very basic analysis. UHC’s receipt of PHI via the contractual audit requests is

  unambiguously allowed under HIPAA. If Next Health had performed this simple analysis, it

  could have eliminated half of the argument in its brief. Either Next Health did not perform this

  analysis, or it did and made this frivolous argument to the Court anyway.

         The puzzling question is why, given that the letters do not even request PHI? Take for

  example the third numbered request in the audit letters to which Next Health objects (Doc. 37-2):

         3. Produce copies of all contracts or agreements between You and any entity or
            individual, regarding laboratory testing services performed or billed for by Next
            Health, from January 1, 2014 through today’s date.


  Next Health actually wants the Court to believe that this is requesting PHI of patients. Each of

  the numbered requests that Next Health objects to would require the same strained linguistic

  interpretation, and absence of common sense by the doctor, to ever lead to the disclosure of PHI.

  Which would be allowed under HIPAA anyway. 45 CFR 164.506(c)(4).

         Next Health also argues that these letters would lead a physician to disclose PHI from

  non-UHC Members. That type of disclosure would in fact not be permissible under HIPAA.

  UHC obviously has no right to PHI from patients that are not its members, and it has not

  requested such information. The Network Physician Contracts specifically address the right of

  UHC only to request medical records regarding its own Members. Ex. 4 at 61 (“In addition, you

  must provide access to any medical, financial or administrative records related to the services




                                                 17
Case 3:17-cv-00243-X-BT         Document 42        Filed 08/18/17       Page 21 of 23      PageID 483



  you provide to our customers within 14 days of our request or sooner for cases involving

  alleged fraud and abuse.”) (emphasis added).

         Does Next Health really believe that physician’s offices are grabbing PHI off of shelves

  and giving it to people that have absolutely no right to receive it and have not requested it? Of

  course not. Physician’s offices make these calls each and every day without the help of Next

  Health. Nevertheless, Next Health makes the argument about PHI in a transparent attempt to

  bolster its frivolous arguments regarding “inflammatory language” and “irreparable business

  harm,” and because it is likely very worried about the damaging nature of the documents that the

  network physicians are going to provide to UHC in responding to the audit letters. Next Health’s

  motives and worries are not sufficient bases to support an “Emergency Motion for a Protective

  Order.” Accordingly, the Motion must be denied.


                                       IV.     CONCLUSION

         For all of the reasons set forth above, UHC has shown that there is no merit or substantial

  justification for the relief requested by Next Health. The Motion Must be DENIED. UHC

  hereby requests all relief afforded to it pursuant to Federal Rule of Civil Procedure 37(a)(5).




                                                  18
Case 3:17-cv-00243-X-BT        Document 42       Filed 08/18/17     Page 22 of 23   PageID 484



  Respectfully submitted this 18th day of August 2017.


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                                                19
Case 3:17-cv-00243-X-BT        Document 42       Filed 08/18/17      Page 23 of 23      PageID 485



                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that a true and correct copy of the foregoing document

  has been served electronically on all parties who have made an appearance in this action or their

  counsel of record, pursuant to the Federal Rules of Civil Procedure, on this 18th day of August,

  2017.


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          I HEREBY CERTIFY a copy of the foregoing has been sent via regular U.S. Mail to the

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          Dated: August 18, 2017


                                                      /s/ Stephen W. Mooney
                                                      Stephen W. Mooney




                                                 20
